869 F.2d 1488
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Clarence R. BAKER, Plaintiff-appellant,v.Otis BOWEN, Secretary of Health and Human Services,Defendant-appellee.
    No. 88-3361.
    United States Court of Appeals, Sixth Circuit.
    March 14, 1989.
    
      Before KRUPANSKY and WELLFORD, Circuit Judges, and CHARLES W. JOINER, Senior District Judge*.
      PER CURIAM.
    
    
      1
      Plaintiff-appellant, Clarence R. Baker (Baker), has appealed the decision of the district court granting summary judgment in favor of the Secretary of Health and Human Services (Secretary), denying Baker's application for disability insurance benefits.  Upon review of the claimant's assignments of error, the record in its entirety, and the briefs of the parties, this court concludes that the Secretary's denial of disability benefits is supported by substantial evidence.
    
    
      2
      Accordingly, the summary judgment in favor of the Secretary is AFFIRMED for the reasons stated in the Administrative Law Judge's recommended decision of April 30, 1987 which was affirmed by the Magistrate on March 4, 1988 pursuant to 28 U.S.C. Sec. 636.
    
    
      
        *
         Hon.  Charles W. Joiner, Senior United States District Judge for the Eastern District of Michigan, sitting by designation
      
    
    